 Case 1:25-bk-10270 Doc 35-3 Filed 05/06/25 Entered 05/06/25 11:43:11                                                                 Desc
         Exhibit Notice of Lease Termination - March 18 2025 Page 1 of 1

                                PARTRIDGE SNOW HAHN up
                                                                                                                          Daniel E. Burgoyne
                                                                                                                               (401) 861-8254
                                                                                                                      dburgoyne@psh.com


                                                                          March         18, 2025

VIA FEDERAL EXPRESS
AND ELECTRONIC MAIL

Tallulah’s Taqueria, LLC
146 Ives Street
Providence, RI 02906
Attn: Kelly Ann Rojas
kellvann/@tallulahstagueria.com

          RE:    — Suite #109 (the “Premises”) within the Farm Fresh Food Hub, 10 Sims Avenue,
                  Providence, Rhode Island, 02909 (the “Building”);
                  Lease dated March 1, 2021 (the “Lease”) by and between Tallulah's
                  Taqueria, LLC (“Tenant”) and Farm Fresh Rhode Island (“Landlord”)

                                    NOTICE OF TERMINATION                                      OF LEASE

Dear Ms. Rojas:

        This office represents the Landlord with respect to the Premises occupied by Tenant under
the Lease dated March 1, 2021. Since you have failed to cure the defaults identified in my earlier
Notice of Default dated March 7, 2025 by remitting payment, you are hereby notified that the
Lease is terminated effective immediately.

          You are hereby directed to vacate the Premises immediately and to leave the Premises in
the condition set forth in the Lease, including but not limited to Section 12 (“Surrender”).

        If you fail to timely vacate the Premises promptly, the Landlord reserves the right to
exercise any and all remedies available under applicable law, including a civil action to recover
possession of the Premises, and for collection of unpaid rent or other charges for use and
occupancy of the Premises.


                                                                            SalE
                                                                           Sincerely,



                                                                           Daniel E. Burgoyne, Esq.
                                                                                                      Bows)
DEB/kIf
fore      John E. Scholhamer, Esq., 1481 Wampanoag Trail, East Providence, RI                                               02915
          (via first-class mail)
          Jesse Rye, Executive Director, Farm Fresh Rhode Island (via e-mail only)

4897-1369-1946
                   30 Federal   Street   -   Boston   MA   02110   617   292-7900   -    Fax   617   292-7910   -   www.psh.com
